
591 S.E.2d 520 (2004)
358 N.C. 137
Lynetta DRAUGHON, Personal Representative of the Estate of Max Draughon, Deceased
v.
HARNETT COUNTY BD. OF EDUC., and Barry Honeycutt, Jackie Samuels, Stephen Ausley, Jason Spell, Anthony Barbour, Perry Saenz, Don Wilson, Jr., Raymond McCall, and Brian Strickland, In their Individual and Official Capacities.
No. 392A03.
Supreme Court of North Carolina.
February 6, 2004.
Keith A. Bishop, PLLC, by Keith A. Bishop, Durham, for plaintiff-appellant.
Tharrington Smith, LLP, by Jonathan A. Blumberg and Lisa Lukasik, Raleigh, for defendant-appellee.
PER CURIAM.
AFFIRMED.
